
Jones, Oliver B., J.
This is an action to compel the board of county commissioners to make an allowance of compensation to the city solicitor for his services as prosecuting attorney of the municipal court of Hamilton.
There is no question that the municipal court has the jurisdiction of a police or mayor’s court, and in our opinion Section 4306, General Code,, and Section 1579-122, General Code (103 O. L., 353), make it the duty of the city solicitor of Hamilton to act as the prosecuting attorney of such court, and under the terms of Section 4307, General Code, he “shall receive for this service such *98compensation as council may prescribe, and such additional compensation as the county commissioners shall allow.”
In our opinion it is the duty of the county commissioners by virtue of this section to make a proper allowance to the city solicitor for his services as prosecuting attorney in state cases before the municipal court of Hamilton. In making this allowance they can take into consideration the amount of compensation he receives for city cases, and the extent of the services rendered in both city and state cases.
The court below was therefore in error in sustaining the demurrer of defendants below to the petition for mandamus, and the.judgment will be reversed and the case remanded for further proceedings.

Judgment reversed, and cause remanded.

Swing. P. J., and Jones, E. H., J., concur.
